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1    DANIEL J. BRODERICK, #89424
     Federal Defender
2    MELODY M. WALCOTT, Bar #219930
     Assistant Federal Defender
3    Designated Counsel for Service
     2300 Tulare Street, Suite 330
4    Fresno, California 93721-2226
     Telephone: (559) 487-5561
5
     Attorney for Defendant
6    VINCENT RIVERA
7
8                                  IN THE UNITED STATES DISTRICT COURT
9                                FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                         )   NO. 1:07-cr-00150 AWI
                                                       )
12                          Plaintiff,                 )   DEFENDANT VINCENT RIVERA’S WAIVER OF
                                                       )   APPEARANCE AT PRETRIAL CONFERENCES
13          v.                                         )   AND HEARINGS; ORDER
                                                       )
14   VINCENT RIVERA, et al.,                           )
                                                       )
15                          Defendants.                )   Judge: Hon. Anthony W. Ishii
                                                       )
16                                                     )
17
18          The undersigned defendant, Vincent Rivera, having been advised of his right to be present at all
19   stages of the proceedings, including but not limited to presentation of arguments on questions of law, to be
20   confronted by and to cross-examine all witnesses, to present evidence in his own defense, and to litigate
21   all issues by either jury or court trial, hereby waives his right to be present in person in open court upon
22   the hearing of any motion or other pre-trial proceeding in this cause, including any status conference,
23   motions hearing, trial confirmation, and/or when a continuance is ordered, hereby requests the court to
24   proceed during every absence of his which the court may permit pursuant to the waiver, and allow his
25   attorney-in-fact to represent her interests at all times. Defendant further agrees that notice to defendant's
26   ///
27   ///
28   ///
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1    attorney that defendant's presence is required will be deemed notice to the defendant of the requirement of
2    his appearance at said time and place. This request is made pursuant to Fed.R.Crim.P. 43(b)(3).
3            I declare under penalty of perjury that the foregoing is true and correct.
4            EXECUTED this 2nd              day of July, 2007, at Fresno, California.
5
6                                                                      /s/ Vincent Rivera
                                                                      VINCENT RIVERA
7                                                                     (Original signature maintained in file
                                                                           of Melody M. Walcott.)
8
9                                                                     AGREED BY COUNSEL:
10
11                                                                     /s/ Melody M. Walcott
                                                                      MELODY M. WALCOTT
12                                                                    Assistant Federal Defender
                                                                      Attorney for Defendant
13                                                                    VINCENT RIVERA
14   DATED: July 3          , 2007
15
16
17                                                         ORDER
18   IT IS SO ORDERED.
19   Dated:      July 6, 2007                                /s/ Anthony W. Ishii
     0m8i78                                            UNITED STATES DISTRICT JUDGE
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     Defendant Vincent Rivera’s W aiver of Appearance at
     Pretrial Conferences and Hearing; [Proposed] Order      -2-
